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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

GABRIEL MCMORLAND,                                )
                                                  )
                Plaintiff,                        )   2:23-CV-1807-RJC
                                                  )
       vs.                                        )
                                                  )
WESTWARD LEANING, INC,                            )
                                                  )
                Defendant.                        )
                                                  )
                                                  )




                                            ORDER



     AND NOW, this 20th day of December, 2023, the Court having been advised that the above

captioned case has been resolved and that the only matters remaining to be completed are the

payment of the settlement proceeds, if any, and the submission of a stipulation for dismissal

under Fed.R.Civ.P. 41(a), and, it appearing that there is no further action required by the Court at

this time;

     IT IS HEREBY ORDERED, that the Clerk mark the above-captioned case closed; that

nothing contained in this Order shall be considered a dismissal or disposition of this action, and,

that should further proceedings therein become necessary or desirable, either party may initiate

them in the same manner as if this Order had not been entered, and,
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     IT IS FURTHER ORDERED that the Court expressly retains jurisdiction in this matter to

consider any issue arising during the period when settlement is being finalized, including, but

not limited to, enforcing settlement.

                                                            BY THE COURT:



                                                            s/Robert J. Colville
                                                            Robert J. Colville
                                                            United States District Judge




cc/ecf: counsel of record
